
Maria S. Masigla, P.T., as Assignee of Brumaire, Yanick, Appellant, 
againstTravelers Insurance Company, Respondent.




The Rybak Firm, PLLC (Joseph D. DePalma, Esq.), for appellant.
Law Offices of Aloy O. Ibuzor (William Angstreich, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered January 6, 2015. The order, insofar as appealed from as limited by the brief, granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order, insofar as appealed from, is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment and defendant cross-moved for summary judgment dismissing the complaint. Plaintiff appeals, as limited by its brief, from so much of a January 6, 2015 order of the Civil Court as granted defendant's cross motion for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for examinations under oath. 
For the reasons stated in Masigla, as Assignee of Brumaire, Shimaine v Travelers Ins. Co. (__ Misc 3d ___, 2017 NY Slip Op _____ [appeal No. 2015-289 Q C], decided herewith), the order, insofar as appealed from, is affirmed.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: December 19, 2017










